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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    No. 2:12-md-02323-AB
 IN RE: NATIONAL FOOTBALL LEAGUE
 PLAYERS’ CONCUSSION INJURY                         MDL No. 2323
 LITIGATION


                                                    Hon. Anita B. Brody
 Kevin Turner and Shawn Wooden, on behalf
 of themselves and others similarly situated,
                                                    Civ. Action No. 14-00029-AB
 Plaintiffs,

 v.

 National Football League and NFL
 Properties LLC, successor-in-interest to NFL
 Properties, Inc.,

 Defendants.


 THIS DOCUMENT RELATES TO:
 ALL ACTIONS


        DECLARATION OF JAMES T. CAPRETZ IN SUPPORT OF PETITION OF
          OBJECTORS PRESTON AND KATHERINE JONES FOR AWARD OF
           ATTORNEYS' FEES FOR SUCCESSFUL EFFORTS TO IMPROVE
             THE SETTLEMENT FOR NFL EUROPE LEAGUE PLAYERS


         James T. Capretz declares, pursuant to 28 U.S.C. § 1746, based upon his personal

knowledge, information and belief, the following:

      1. I am an attorney licensed to practice law in all courts in the State of California. I was

admitted to the California bar in 1969. I am admitted to several federal district courts and federal

appellate courts throughout the United States. I am also admitted to practice in the state of

Louisiana and before the U.S Supreme Court. I was retained to represent Objectors Preston and

Katherine Jones.
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   2. I am the principal of Capretz & Associates, a boutique consumer oriented law firm located

in Newport Beach, California with a national practice that emphasizes complex civil and

multidistrict litigation in its practice and is experienced in class action proceedings. In the 1992

matter of Bowling vs. Pfizer, Case No. C-1-91-256, in Federal District Court in Cincinnati, Ohio,

I was appointed and still serve as Special Counsel for the class. The case resulted in a seminal

worldwide class action settlement with the Pfizer pharmaceutical company for a value over $300

million dollars to pay claims arising from defective prosthetic heart valves. In 2000, I was

appointed co-lead counsel in the Minnesota based MDL No. 1396 In Re St. Jude Medical Inc.,

Silzone Heart Valve Product Liability Litigation. This was a class action on behalf of medical

patients wearing a prosthetic heart valve known as a St. Jude Silzone valve. The class was certified

by federal judge John Tunheim. Viable individual claims have been settled through this date over

a period of years of litigation. Also, I served as Co-Lead counsel in the San Diego class action

known as Shames vs. The City of San Diego, Case No. GIC831539. This case was on behalf of

the residents of San Diego who were overcharged for certain sewer taxes; the city settled for $40

million dollars. I also have served as a State Liaison Counsel in the MDL proceedings known as

In Re Propulsid Products Liability Litigation, MDL No. 1355, before Judge Eldon E. Fallon in

New Orleans, Louisiana and on the Plaintiffs’ Steering Committee in the matter of In Re Medtronic

Inc., Sprint Fildelis Leads Product Liability Litigation, MDL No. 1905, in the United District

Court, District of Minnesota. I also was selected to assist the Plaintiffs Steering Committee In re

Avandia Marketing, Sales, Billing Practices and Products Liability Litigation MDL No. 1871. I

was recently co-lead counsel in the cell phone tax class action matter of Carla Villa and Vanessa

Garza vs. City of Chula Vista which case was settled for a value of close to ten million dollars and

the settlement was found to be fair, adequate and reasonable by the court on December 12, 2013.




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Other class actions or complex litigation cases in which I have been involved include, but are not

necessary limited to: In Re Microsoft Corp. Windows Operating Systems Antitrust Litigation,

MDL No. 1332 (Maryland); In Re Warfarin Sodium Antitrust Litigation, MDL No. 1232

(Delaware); Allec v. Cross Country Bank, OCSC Class Action No. 802894 (California); In Re

Rezulin Product Liability Litigation, MDL No. 1348 (New York); In Re diet Drugs, MDL No.

1203 (Pennsylvania); In Re Silicone Gel Breast Implants Products Liability Litigation MDL No.

926 (Alabama); and, In Re Synthroid Marketing Litigation, MDL No. 1182 (Illinois).

   3. The matters stated herein are personally known to me, and if called as a witness in the

above case, I could so testify.

       I declare under penalty of perjury that the foregoing is true and correct. Executed this 27th

day of March, 2017.



                                              /s/ James T. Capretz
                                             ________________________
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